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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                 FORT MYERS DIVISION

IN RE:
                                                       Case No.: 2:24-bk-01323-FMD
MIGUEL A. SOTOLONGO,                                   Chapter 13

                 Debtor.
                                                /

 OBJECTION TO CONFIRMATION OF DEBTOR’S PROPOSED CHAPTER 13 PLAN

       COMES NOW, CARRINGTON MORTGAGE SERVICES, LLC, (“Secured

Creditor”), by and through undersigned counsel, pursuant to 11 U.S.C. §§1322(b)(2) and

1325(a), and objects to confirmation of Debtor’s Proposed Chapter 13 Plan, [DE 2], and in

support thereof, states as follows:

       1.      On August 31, 2024, Debtor filed for Chapter 13 relief.

       2.      Secured Creditor holds a security interest in Debtor’s real property located at

2200 Ann Avenue N, Lehigh Acres, FL 33971.

       3.      The claims bar date is November 12, 2024.

       4.      Secured Creditor has or will timely file a Proof of Claim, which will show a

secured arrearage due to Secured Creditor in the amount of $2,564.44.

       5.      On August 31, 2024, Debtor filed his Plan [Docket Entry 2], which proposed to

make payments to the Secured Creditor directly from the Debtor for months 1-60, for the life of

the Plan.

       6.      Pursuant to the terms of the Note, Debtor is required to make monthly payments

to the Secured Creditor, currently in the amount of $1,516.80.

       7.      Debtor’s Plan fails to propose a Mortgage Modification, Debtor has not filed a

Motion for Referral to Mediation, and no Order of Mediation has been entered. Further, no
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modification has been executed to date, and Secured Creditor files this objection preserving its

rights as the Plan does not conform to Secured Creditor’s Proof of Claim.

       8.         Debtor’s proposed Plan fails to comply with 11 U.S.C. §§1322(b)(2) and 1325(a)

in that it does not provide adequate protection for Secured Creditor’s interest, and seeks to

impermissibly modify the amount owed to Secured Creditor by failing to cure the arrearages,

fees, and costs to which Secured Creditor is entitled. Secured Creditor objects to such treatment

through the Plan.

       9.         Furthermore, Debtor’s proposed Plan is in direct violation of Administrative

Order FLMB-2023-3(6)(B)(iii) providing that:

                  “Notwithstanding the foregoing, the adequate protection payment must be
                  in an amount sufficient to pay (a) homeowners’ association fees, and (b)
                  1/12 of annual ad valorem property taxes and annual homeowner’s
                  insurance premiums.”

Administrative Order FLMB-2023-3(7) further provides for direct post-petition payments to

secured creditors only when no arrearages must be cured.

        10.       Secured Creditor hereby reserves the right to supplement this Objection at or prior

to the hearing.

       WHEREFORE, Secured Creditor respectfully requests the entry of an Order which

denies confirmation of the Plan, or in the alternative, requires the Debtor to amend the Plan to

overcome Secured Creditor’s objections herein and conform the entire amount due under

Secured Creditor’s Proof of Claim, and for any other and further relief as this Court deems just

and proper.

                                                               /s/ Nicole Ramirez___________
                                                               Nicole R. Ramirez, Esq.
                                                               Florida Bar No. 108006
                                                               Storey Law Group, P.A.
                                                               221 NE Ivanhoe Blvd. Suite 300
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                                                           nramirez@storeylawgroup.com
                                                           Attorney for Creditor, Carrington
                                                           Mortgage Services, LLC




                              CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that a true and correct copy of the foregoing has been served either
by CM/ECF electronic transmission or standard first class mail to: Miguel A. Sotolongo, c/o Jose
A. Blanco, Esq., 102 East 49th St., Hialeah, FL 33013, eservice@blancopa.com; Jon Waage,
Chapter 13 Trustee, P.O. Box 25001, Bradenton, FL 34206-5001; the Office of the United States
Trustee, Timberlake Annex, Ste. 1200, 501 E. Polk St., Tampa, FL 33602; and all parties
receiving CM/ECF electronic service in this case, this 11th day of September 2024.



                                                           /s/ Nicole Ramirez______________
                                                           Nicole R. Ramirez, Esq.
                                                           Florida Bar No. 108006
